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  10                              UNITED STATES DISTRICT COURT
  11                             CENTRAL DISTRICT OF CALIFORNIA
  12

  13 NEW YORK MARINE AND                                 Case No. 2:22-cv-4685-GW (PDx)
       GENERAL INSURANCE
  14 COMPANY, a New York                                 Hon. George H. Wu,
                                                         Courtroom 9D
  15 corporation,
                                   Plaintiff,            DEFENDANT AND COUNTER-
  16                                                     CLAIMANT AMBER HEARD’S
                  vs.                                    OPPOSITION TO PLAINTIFF
  17
                                                         AND COUNTER-DEFENDANT
  18 AMBER HEARD,                                        NEW YORK MARINE’S
                                                         MOTION TO (1) DISMISS
  19                               Defendant.            HEARD’S COUNTERCLAIM
                                                         PURSUANT TO RULE 12(b)(6),
  20                                                     OR (2) ALTERNATIVELY, FOR
  21 AND RELATED COUNTERCLAIM                            A MORE DEFINITE
                                                         STATEMENT PURSUANT TO
  22                                                     RULE 12(e), AND (3) TO
                                                         STRIKE CERTAIN
  23                                                     ALLEGATIONS PURSUANT
                                                         TO RULE 12(f)
  24

  25
                                                         Date:            March 13, 2023
                                                         Time:            8:30 a.m.
  26
                                                         Courtroom:       9D

  27
                                                         Complaint Filed July 8, 2022

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   1                       MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.           INTRODUCTION
   3              Plaintiff and counterclaim defendant New York Marine makes a
   4 scattershot effort to escape its obligations to its insured, defendant and

   5 counter-claimant Amber Heard. Each of its sundry arguments should be

   6 rejected.

   7              With respect to the motion to dismiss, New York Marine’s
   8 arguments cannot prevail because Ms. Heard has sufficiently alleged

   9 that she was entitled to independent counsel and New York Marine

  10 failed to provide such counsel, thus breaching its duty to defend. The

  11 participation of a different insurer in Ms. Heard’s defense does not

  12 excuse New York Marine from its duty.

  13              New York Marine’s motion for a more definite statement is
  14 groundless. There are no statements in Ms. Heard’s Counterclaim that

  15 are so vague that New York Marine cannot respond, and its efforts to

  16 seek information it can request in discovery are not proper.

  17              Finally, New York Marine’s motion to strike does not identify any
  18 improper or immaterial allegations. Aside from repeating arguments

  19 made in its motion to dismiss, New York Marine seeks to strike

  20 allegations that are directly relevant to Ms. Heard’s bad faith claim.

  21              Collectively, New York Marine’s arguments seek to introduce
  22 issues not appropriate for resolution at the pleading stage and short-

  23 circuit Ms. Heard’s right to present her case. Its efforts cannot succeed,

  24 and its motion should be denied in its entirety.

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   1 II.          THE MOTION TO DISMISS SHOULD BE DENIED
   2              A.         Heard Was Entitled to Independent Counsel Because
   3                         California Law Applies to New York Marine’s Duty to
   4                         Defend and An Actual Conflict of Interest Existed
   5              Contrary to New York Marine’s arguments, California law, not
   6 Virginia law applies here. Under California law, Ms. Heard was entitled

   7 to independent counsel in the Depp lawsuit because an actual conflict of

   8 interest existed between Ms. Heard and the attorneys of Cameron

   9 McEvoy. See San Diego Navy Fed. Credit Union v. Cumis Ins. Soc’y, 162

  10 Cal. App. 3d 358 (1984); Cal. Civ. Code § 2860 (codifying, with

  11 modifications, the Cumis rule).

  12                         1.    A Conflict-of-Laws Analysis Is Required
  13              As the Ninth Circuit and other courts have recognized, when the
  14 law of one state would require an insurer to provide independent counsel

  15 to fulfill its duty to defend, but the law of another state would not, it

  16 raises a conflict of laws issue about the scope of the insurer’s duty,

  17 properly decided by a conflict of law analysis. See, e.g., Northern Ins. Co.

  18 v. Allied Mut. Ins. Co., 955 F.2d 1353, 1359 (9th Cir. 1992) (conducting

  19 choice-of-law analysis between California and Washington law to

  20 determine whether insurer had to provide independent counsel);

  21 Bethlehem Constr., Inc. v. Transp. Ins. Co., 2006 WL 2818363, at *23

  22 (E.D. Wash. Sept. 28, 2006) (same).1 In that analysis, the ethical duties

  23 imposed on defense counsel in the state the defense is provided in do not

  24

  25

  26  See also Hartford Underwriters Ins. Co. v. Found. Health Servs. Inc.,
       1

     524 F.3d 588 (5th Cir. 2008); Centex Homes v. Lexington Ins. Co., 2014
  27
     WL 1225501, at *4–8 (N.D. Tex. Mar. 25, 2014); Nat’l Union Fire Ins. Co.
  28 v. Donaldson Co., 272 F. Supp. 3d 1099 (D. Minn. 2017).
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   1 foreclose the possibility that a conflict actually exists under California

   2 law.

   3              In Northern, the Ninth Circuit addressed the same issue presented
   4 here—whether an insurer had fulfilled its defense duty when it hired

   5 counsel to defend the insured but refused the insured independent

   6 counsel. 955 F.2d at 1359. “Under Washington law, it did; under

   7 California law, it did not.” Id. The insurer and insured negotiated and

   8 contracted in California, but the injury occurred in Washington, and the

   9 defense was provided there. Id. Like Virginia, Washington law is clear

  10 that insurer-appointed defense counsel represents only the insured, not

  11 the insurer, and owes a duty of loyalty to the insured that has no

  12 exceptions.2 In other words, like Virginia, Washington does not recognize

  13 the “tripartite relationship” between an insurer, insured, and defense

  14 counsel. According to New York Marine, in this situation there could be

  15 no conflict of interest. The Ninth Circuit disagrees.

  16              Northern proceeded with its choice of law analysis, reasoning that
  17 “Washington is interested in enforcing its ethical rules,” but “California,

  18 on the other hand, has a strong interest in seeing its law applied to

  19 protect both an insured domiciled in California and the substantive

  20 rights of parties to a contract negotiated and executed there.” Id. at

  21 1359–60. Because the obligation to provide a defense was one of the

  22 essential promises in the policy, the court found that “rules such as the

  23 Cumis rule, which play a defining role in determining the scope of this

  24 obligation, relate to a substantial right rather than a mere detail of

  25

  26  “In a reservation-of-rights defense, [Rules of Professional Conduct
       2

     5.4(c)] demands that counsel understands that he or she represents only
  27
     the insured, not the company.” Tank v. State Farm Fire & Cas. Co., 715
  28 P.2d 1133, 1137 (Wash. 1986).
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   1 performance” that might otherwise be subject to the law of the place of

   2 performance. Id. at 1360. The court further explained that “[a]pplying

   3 California law does not harm Washington’s interest” and “Washington

   4 has no specific interest in having its more lenient standard applied here.”

   5 Id. at 1359. The court held that California law applied and therefore the

   6 insurer failed to meet its obligation to provide a defense when it refused

   7 to provide its insured with independent counsel. Id. at 1360.

   8              Here, as in Northern, the issue is whether New York Marine
   9 breached its contractual duty to defend Ms. Heard when it appointed its

  10 own counsel and refused to defend her through independent counsel.

  11 New York Marine’s duty to defend Ms. Heard is one of the essential

  12 promises in the Policy. See, e.g., Buss v. Superior Court, 16 Cal. 4th 35,

  13 46 (1997) (“[S]o far as the insured is concerned, the duty to defend may

  14 be an important as the duty to indemnify.”). California has a strong

  15 interest in seeing its law applied to protect Ms. Heard and her

  16 substantive rights under that Policy—negotiated and executed in

  17 California. Among these substantive rights is the right to independent

  18 counsel when an actual conflict, as interpreted under California law,

  19 exists. The fact that Virginia law (like Washington law) applies a “more

  20 lenient standard” to the duty to defend itself weighs in favor of applying

  21 California law.

  22              The Ninth Circuit’s holding in Northern makes clear that the
  23 conflict-of-law analysis cannot simply be leap-frogged where a state does

  24 not observe the tripartite relationship. The right to independent counsel

  25 is not only the right to a non-conflicted defense, it also presumptively

  26 encompasses the right to control the defense of the potentially insured
  27 action, the right to choose one’s own counsel, and the right to

  28 reimbursement according to a statutory rate rather than an insurer’s
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   1 “panel counsel” rates. See Cal. Civ. Code § 2860; Assurance Co. of Am. v.

   2 Haven, 32 Cal. App. 4th 78, 87 (1995) (“An important corollary of the

   3 Cumis doctrine is that if the insured is entitled to Cumis counsel, the

   4 insured is entitled to control the defense of the case.”). Notably, despite

   5 its protestations that there is no conflict under Virginia law, New York

   6 Marine is still insisting that it had the right to control Ms. Heard’s

   7 defense. ECF No. 42-1 at 16 (citing case for proposition that “no action”

   8 clause gives insurer right to control defense). If, as New York Marine

   9 suggests, it had the right to control Ms. Heard’s defense—

  10 notwithstanding that Virginia law does not recognize the tripartite

  11 relationship—then there is still a conflict of interest that would give rise

  12 to a right to independent counsel under California law and, thus, a

  13 conflict between California law and Virginia law.

  14                         2.    The Governmental Interest Test Requires Application of
  15                               California Law
  16              A district court in a diversity case must apply the choice-of-law
  17 rules of the forum state—here, California. See, e.g., Liew v. Official

  18 Receiver & Liquidator, 685 F.2d 1192, 1195 (9th Cir. 1982). New York

  19 Marine argues that its contractual obligations under the Policy are

  20 governed by the choice-of-law rule in California Civil Code section 1646,

  21 citing Frontier Oil Corp. v. RLI Insurance Co., 153 Cal. App. 4th 1436,

  22 1443 (2007) (“Civil Code section 1646 is the choice-of-law rule that

  23 determines the law governing interpretation of a contract”). But “[w]here

  24 the contract contains no choice of law provision and the case does not

  25 present an issue of contract interpretation, California courts apply the

  26 governmental interest test to determine which state’s law should apply.”
  27 Columbia Cas. Co. v. Gordon Trucking, Inc., 758 F. Supp. 2d 909, 915

  28 (N.D. Cal. 2010) (footnote omitted). Here, the Policy contains no choice-
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   1 of-law provision, and the issue is not one that requires contract

   2 interpretation. The parties agree that New York Marine had a duty to

   3 defend Ms. Heard under the Policy; the disagreement turns on whether

   4 New York Marine fulfilled its duty under applicable law. Thus, the

   5 correct test is the governmental interest analysis.

   6              The governmental interest analysis proceeds as follows:
   7                         [T]he court first determines whether the applicable
   8                         rules   of   law   of   the    potentially   concerned
   9                         jurisdictions are the same or different. If the
  10                         applicable rules of law are identical, the court may
  11                         apply California law. If the applicable rules of law
  12                         differ materially, the court proceeds to the second
  13                         step, which involves an examination of the interests
  14                         of each jurisdiction in having its own law applied to
  15                         the particular dispute.
  16 Frontier, 153 Cal. App. 4th at 1454. “The party arguing that foreign law

  17 governs has the burden to identify the applicable foreign law, show that

  18 it materially differs from California law, and show that the foreign law

  19 further an interest of the foreign state.” Id. at 1465.

  20              In the first step of the analysis, the scope of New York Marine’s
  21 duty to defend Ms. Heard materially differs under Virginia law and

  22 California law. Under Virginia law, an insurer does not owe an insured

  23 independent counsel even if a “conflict,” as defined under California law,

  24 exists. Virginia adopts a more lenient standard that allows an insurer to

  25 fulfill its duty to defend by appointing defense counsel for the insured—

  26 relying instead on “the standards of the legal profession” that “require
  27 undeviating fidelity of a lawyer to his client” to protect its insureds.

  28 Norman v. Insurance Co. of N. Am., 239 S.E.2d 902 (Va. 1978). The
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   1 California courts and State Legislature have intentionally crafted a

   2 different approach to protecting insureds, requiring the insurer to

   3 provide independent counsel to an insured if a conflict of interest arises.

   4 Cumis, 162 Cal. App. 3d 358; Cal. Civ. Code § 2860. Because there is a

   5 material difference in the scope of New York Marine’s duty to defend

   6 under Virginia and California law, the analysis proceeds.

   7              In the second step, the Court must “determine what interest, if any,
   8 each state has in having its own law applied to the case.” Wash. Mut.

   9 Bank, FA v. Superior Court, 24 Cal. 4th 906, 920 (2001). In assessing

  10 each state’s interest, courts should examine the policies underlying the

  11 rule of law at issue. Gordon Trucking, 758 F. Supp. 2d at 916. Here, as

  12 the Ninth Circuit recognized in Northern, Virginia may have an interest

  13 in enforcing the duty of fidelity to Ms. Heard that its law and ethical

  14 rules impose on the attorneys of Cameron McEvoy. 955 F.2d at 1359.

  15 “California, on the other hand, has a strong interest in seeing its law

  16 applied to protect both an insured domiciled in California and the

  17 substantive rights of parties to a contract negotiated and executed

  18 there.” Id. at 1359–60. See Pitzer College v. Indian Harbor Ins. Co., 8

  19 Cal. 5th 93 (2019) (specifying standards to determine whether a

  20 California rule is a “fundamental public policy” and rejecting automatic

  21 application of a choice-of-law clause when a fundamental public policy is

  22 involved). New York Marine has not met its burden of showing that

  23 Virginia has an interest in having its own law apply to this dispute.

  24 Indeed, because Virginia “has no specific interest in having its more

  25 lenient standard applied here,” and applying California law would not

  26 harm Virginia’s interest, there is no true conflict. Northern, 955 F.2d at
  27 1359. Thus, California law governs.

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   1              The “significant impairment” analysis only applies if the Court
   2 determines that each of the competing states has an interest in having

   3 its law applied. In such a case,

   4                         the court determines which jurisdiction has a
   5                         greater interest in the application of its own law to
   6                         the issue or, conversely, which jurisdiction's
   7                         interest would be more significantly impaired if its
   8                         law were not applied. The court must apply the law
   9                         of the jurisdiction whose interest would be more
  10                         significantly impaired if its law were not applied.
  11 Frontier, 153 Cal. App. 4th at 1454–55. There is no need for the Court to

  12 conduct this analysis. But even if it were necessary, as held in Northern,

  13 California has a strong interest in protecting the rights it provides to

  14 insureds under California law and public policy, including the Cumis

  15 rule, particularly when those contracts are negotiated and executed

  16 within its jurisdiction. The application of Virginia law would

  17 substantially impair that interest. In contrast, Virginia’s interest is not

  18 at all impaired by the application of California law. “Attorneys practicing

  19 in [Virginia] still must abide by local ethical rules and may be sanctioned

  20 for failing to do so.” See Northern, 955 F.2d at 1359. Because California’s

  21 interest would be impaired by the application of Virginia law, but not

  22 vice versa, California law applies.

  23                         3.    Even Under Section 1646, California Law Applies
  24              Even if this Court concludes that Civil Code section 1646 applies to
  25 resolve the choice-of-law issue, California law applies. Under section

  26 1646, a contract is to be interpreted according to the law and usage of the
  27 place it is to be performed only if the contract “indicate[s] a place of

  28 performance.” Otherwise, “according to the law and usage of the place
                                                      14
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 where it was made.” Id. A contract “indicate[s] a place of performance”

   2 within the meaning of section 1646 if the contract expressly specifies a

   3 place of performance or if the intended place of performance can be

   4 gleaned from the nature of the contract and its surrounding

   5 circumstances. Frontier, 153 Cal. App. 4th at 1443.

   6              Here, the Policy does not expressly specify a place of performance.
   7 To the extent “an intended place of performance can be gleaned,” that

   8 place is California, not Virginia. The Policy was issued in California to

   9 Under the Black Sky, Inc., incorporated in California,3 and listed Ms.

  10 Heard, domiciled in California at the time, as a named insured. ECF No.

  11 5-1 at 14–19, 67. The broker for the policy, Integro USA, Inc. is located in

  12 California. ECF No. 5-1 at 3. The Policy includes three separate

  13 endorsements designed to accommodate California law. ECF No. 5-1 at

  14 14, 18, 67. Indeed, the Policy makes no mention of Virginia or any

  15 insured location other than California.

  16              New York Marine contends that Virginia law applies because
  17 Virginia is where New York Marine eventually performed its duty to

  18 defend Ms. Heard. But Frontier compels the opposite conclusion: “The

  19 apparent purpose of Civil Code section 1646 is to determine the choice of

  20 law with respect to the interpretation of a contract in accordance with

  21 the parties’ presumed intention at the time they entered into the

  22 contract.” 153 Cal. App. 4th at 1449 (emphasis added). At the time the

  23 parties entered into the contract, it was not foreseeable that an action

  24 would be filed against Ms. Heard in Virginia, and therefore there was no

  25 intent that the place of performance would be Virginia.

  26
  27   3   See https://bizfileonline.sos.ca.gov/search/business (a search for “Under
  28 the Black Sky, Inc.” reflects that it was “Formed In” California).
                                                      15
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1              The two additional cases cited by New York Marine are inapposite
   2 here. In James River Insurance Co. v. Medolac Laboratories, 290 F.

   3 Supp. 3d 956 (C.D. Cal. 2018), the court held that the place of

   4 performance was California based on the defense provided there only

   5 because “on the very specific facts of this action, the parties did

   6 anticipate a California defense—and not as a hypothetical possibility,

   7 but as a concrete reality.” Id. at 966. Indeed, the court was careful to

   8 distinguish the surrounding circumstances of the case to avoid the

   9 “troubling” conclusion that “a policy might be interpreted according to

  10 different bodies of law depending on where each defense pursuant to the

  11 policy was performed”—the interpretation New York Marine now

  12 attempts to advance. Id. The narrow holding in James cannot apply here

  13 because the parties did not anticipate a Virginia defense at the time they

  14 contracted.

  15              In Fireman’s Fund Insurance Co. v. Nationwide Mutual Fire
  16 Insurance Co., 2012 WL 1985316 (S.D. Cal. 2012), the court determined

  17 that there was no difference between California and Florida law, so no

  18 conflict existed. In any event, in Fireman’s, the place where the insurer

  19 would perform its contractual duty to defend could be inferred from the

  20 nature of the policy and its surrounding circumstances. Id. at *6.

  21 Although California was not the place where the contract was issued, the

  22 additional insured was a restaurant with its headquarters and 200

  23 restaurants located there. Id. at 1. Here, the Policy and surrounding

  24 circumstances at the time the contract was made provided no indication

  25 that Virginia was the intended place of performance. To the extent any

  26 intended place of performance can be gleaned, it is California.
  27               In addition, subsequent decisions addressing conflict-of-law in the
  28 context of policies that cover risks in different states have rejected the
                                                      16
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 premise that the place of performance is any location where the contract

   2 could be performed. Rather, those decisions have correctly applied the

   3 law of the place where the contract was made.4 Because New York

   4 Marine could have been obligated to defend Ms. Heard in any number of

   5 different states, the intended place of performance at the time the

   6 parties contracted cannot be based on that obligation. To the extent the

   7 intended place of performance can be gleaned from other surrounding

   8 circumstances (e.g., Ms. Heard’s domicile, the California-specific

   9 endorsements to the Policy), California law clearly applies over Virginia

  10 law. Alternatively, if no intended place of performance can be inferred,

  11 then this Court must apply the law of the place where the contract was

  12 made. In either case, California law applies.

  13                         4.    Under California Law, New York Marine’s Reservation
  14                               of Rights Gave Rise to A Conflict of Interest
  15              New York Marine contends that it enjoys greater rights to control
  16 the defense because it was vague about the grounds for its reservation of

  17 rights when communicating with Ms. Heard. This position is perverse

  18 and untenable.

  19              As an initial matter, New York Marine did enumerate a conflict-
  20 creating basis for denying coverage, stating: “Notwithstanding that New

  21 York Marine has determined that it will provide you with a legal defense

  22 to, to the extent that California law does not permit an insurer to

  23 indemnify the insured, no indemnity can be provided.” Wagoner Decl.

  24

  25
       See e.g., West Am. Ins. Co. v. Nutiva, Inc., 2018 WL 3861832, at *3–4
       4

  26 (N.D. Cal. 2018) (applying California law because that was where the
     contract was made, the policy did not explicitly name locations for
  27
     coverage, and the insured’s products—and therefore insured risks—were
  28 located in every state).
                                                      17
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 Ex. 1. New York Marine concedes that this was an allusion to California

   2 Insurance Code section 533, stating that its letter “reference[d]” section

   3 533. ECF No. 42-1 at 21 n.4.5

   4              In any case, as alleged by Ms. Heard, despite potential ambiguity
   5 in the language of the letter itself, New York Marine made clear that it

   6 was relying on section 533, “persist[ing] in its position” that it would

   7 “reserve[] rights to deny coverage on the ground that Ms. Heard behaved

   8 intentionally” after the issuance of the October 19 letter. ECF No. 36 at

   9 22. In addition, while the Depp lawsuit was still pending, New York

  10 Marine filed this action on the basis of section 533. This creates a clear

  11 conflict of interest entitling Ms. Heard to independent defense counsel.

  12              New York Marine argues that a reservation on the basis of section
  13 533 cannot give rise to a conflict. In fact, a reservation based on section

  14 533 is the quintessential scenario giving rise to the right to independent

  15 counsel. See, e.g., Montrose Chem. Corp. v. Superior Court, 6 Cal. 4th

  16 287, 302 (1993) (when an insurer reserves rights regarding intentional

  17 conduct, “the potential that the insurer’s proof will prejudice its insured

  18 in the underlying litigation is obvious” and is a “classic” conflict

  19 situation). Section 533 states, “An insurer is not liable for a loss caused

  20 by the wilful act of the insured; but he is not exonerated by the

  21 negligence of the insured, or of the insured’s agents or others.” Loss is

  22 uninsurable, then, when “caused by the wilful act of the insured”—a

  23 question of the insured’s state of mind and intent. As explained in

  24

  25
      To the extent New York Marine seeks to walk back this concession,
       5

  26 New York Marine is admitting it violated its duty to disclose to Ms.
     Heard the factual and legal basis for each reason given for denial of
  27
     coverage that was then within New York Marine’s knowledge. Cal. Code
  28 Regs., tit. 10, § 2695.7(b)(1).
                                                      18
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 Cumis, “the insurer’s desire to establish in the third party suit the

   2 insured’s ‘liability rested on intentional conduct[,]’ and thus no coverage

   3 under the policy, and . . . the insured’s desire to “obtain a ruling . . . such

   4 liability emanated from the nonintentional conduct within his insurance

   5 coverage,” creates a conflict of the parties’ interests. 162 Cal. App. 3d at

   6 364–65 (cleaned up).

   7              This conflict is readily apparent here. New York Marine contends
   8 that it owes no duties to Ms. Heard with respect to the Depp lawsuit

   9 because Ms. Heard’s actions constituted willful defamation. Whether Ms.

  10 Heard made false statements was an element of Mr. Depp’s defamation

  11 claims. See ECF No. 5-3 at 5, 7–9. Because the statements at issue

  12 concerned events that Ms. Heard contended happened to her, see ECF

  13 No. 5-1 at 5–7, the falsity of these statements and Ms. Heard’s

  14 knowledge of their falsity are closely linked issues. Even more plainly, at

  15 issue in the Depp lawsuit was whether Ms. Heard acted “with actual

  16 malice” in making false statements. See ECF No. 5-3 at 5, 7–9. The

  17 “actual malice” standard requires that a statement be made “with

  18 knowledge that it was false or with reckless disregard of whether it was

  19 false or not.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 280 (1964). The

  20 inquiry thus shares significant overlap with the section 533 inquiry.

  21              Indeed, according to New York Marine, the “actual malice”
  22 standard at issue in the Depp lawsuit is exactly coterminous with section

  23 533. See ECF 5 at 7 (“The jury’s factual findings establish that Heard’s

  24 liability is caused by the willful act(s) of Heard.”). Although Ms. Heard

  25 does not agree that the standards are the same, New York Marine

  26 cannot reasonably dispute the conflict of interest when it contends that a
  27 coverage issue was not only raised, but actually litigated and decided in

  28 the case it sought to control.
                                                      19
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1              In its opinion in the now-consolidated case, the Court stated
   2                         Here, [Travelers] has charged that [New York
   3                         Marine’s] reservation of rights was made with the
   4                         intention of later attempting to assert that
   5                         “indemnity coverage could be denied based on the
   6                         insured’s knowledge and/or intent with respect to
   7                         the alleged events giving rise to the Underlying
   8                         Action.” However, [Travelers] has not articulated
   9                         how that could be done or whether counsel chosen
  10                         by [New York Marine] took any steps in that regard.
  11                         Additionally, “the mere fact that the insurer
  12                         disputes coverage does not entitle the insured to
  13                         Cumis counsel.”
  14 Travelers Com. Ins. Co. v. N.Y. Marine & Gen. Ins. Co., 2022 WL 100109,

  15 at *9 (C.D. Cal. Jan. 6, 2022). New York Marine has now conceded that

  16 its letter referenced section 533, ECF No. 42-1 at 21 n.4, and it is relying

  17 on section 533 in its Complaint against Ms. Heard, alleging that “[t]he

  18 jury’s factual findings establish that Heard’s liability is caused by the

  19 willful act(s) of Heard,” ECF 5 at 7–8. New York Marine has thus

  20 asserted that coverage is barred because of Ms. Heard’s “knowledge

  21 and/or intent with respect to the alleged events giving rise to the

  22 Underlying Action.”

  23              Moreover, Ms. Heard’s entitlement to independent counsel does not
  24 depend on whether “counsel chosen by [New York Marine] took any

  25 steps” adverse to Ms. Heard’s interests: “If . . . a conflict of interest arises

  26 which creates a duty on the part of the insurer to provide independent
  27 counsel to the insured, the insurer shall provide independent counsel to

  28 represent the insured.” Cal. Civ. Code § 2860(a) (emphasis added).
                                                      20
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1              Finally, Ms. Heard alleges more than a mere coverage dispute.
   2 Rather, the coverage defense raised by New York Marine involved Ms.

   3 Heard’s knowledge and intent, which was also a key issue in the Depp

   4 action. This is a class conflict of interest. See Montrose, 6 Cal. 4th at 302.

   5              The cases cited by New York Marine and in this Court’s opinion in
   6 the consolidated case are distinguishable. Again, New York Marine

   7 concedes that it asserted a specific provision (section 533), which is

   8 fundamentally different from Dynamic Concepts, Inc. v. Truck Insurance

   9 Exchange, 61 Cal. App. 4th 999, 1007 (1998), in which the insured sought

  10 a “per se rule requiring the appointment of an independent counsel

  11 whenever a carrier issues a so-called ‘global reservation of rights’ or . . .

  12 reserves its right to seek reimbursement for defense costs for uncovered

  13 claims.” New York Marine, which argues that the issue of Ms. Heard’s

  14 intent was actually litigated and decided, cannot find refuge in caselaw

  15 in which the insurer could not control a coverage issue, like Federal

  16 Insurance Co. v. MBL, Inc., 219 Cal. App. 4th 29, 48 (2013), and Gulf

  17 Insurance Co. v. Berger, Kahn, Shafton, Moss, Figler, Simon &

  18 Gladstone, 79 Cal. App. 4th 114, 132 (2000) (claims “were based upon

  19 contentions that the [insureds and underlying] defendants failed to

  20 provide the promised quality of legal services. Thus, [counsel] could not

  21 act for [the insurer’s] benefit to the [insureds’] detriment by transferring

  22 liability from covered to uncovered claims by presenting different facts”).

  23              Similarly, neither Centex Homes v. St. Paul Fire & Marine Ins. Co.,
  24 19 Cal. App. 5th 789, 802 (2018), nor Native Sun Investment Group v.

  25 Ticor Title Ins. Co., 189 Cal. App. 3d 1265, 1270, 1277 (1987), involved a

  26 situation in which resolution of the underlying claims could control the
  27 parties’ coverage dispute. Each case looked to “evidence”—Centex after

  28 summary judgment, 19 Cal. App. 5th at 802, and Native after trial, 189
                                                      21
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 Cal. App. 3d at 1277–78—to emphasize that the insured was not harmed.

   2 Of course, at the pleading stage, it is not Ms. Heard’s burden to produce

   3 evidence. Nonetheless, as explained above, New York Marine cannot and

   4 does not dispute that Ms. Heard’s intent was actually litigated in the

   5 underlying case. See ECF 5 at 7 (alleging that “[t]he jury’s factual

   6 findings establish that Heard’s liability is caused by the willful act(s) of

   7 Heard.”). These circumstances are more than a distant cry from Centex

   8 and Native.

   9              Finally, in Celerity Educational Group v. Scottsdale Insurance Co.,
  10 2018 WL 2585321, at *6 (C.D. Cal. Apr. 11, 2018), the insurer withdrew

  11 its reservation of rights as to “matters uninsurable under the law,”

  12 clarifying that its reservation extended only to “the lack of coverage for

  13 punitive damages.” There was also no evidence that the insurer intended

  14 to refer to intentional conduct. See Celerity Educ. Grp. v. Scottsdale Ins.

  15 Co., 2018 WL 3853998, at *2 (C.D. Cal. Aug. 10, 2018). By contrast, New

  16 York Marine concedes that it referenced section 533 in its reservation,

  17 ECF No. 42-1 at 21 n.4, and has since continually confirmed it, ECF No.

  18 36 at 22; ECF 5 at 7–8.6

  19              New York Marine contends that section 533 “cannot be waived as a
  20 matter of California law. It therefore logically follows that its reference

  21 in the ROR letter cannot create a conflict of interest requiring the

  22 appointment of independent counsel.” ECF No. 42-1 at 21 n. 4. But an

  23 insurer’s reliance on section 533 is subject to both waiver and estoppel.

  24 See, e.g., Fid. & Deposit Co. of Maryland v. First W. Bank, 978 F.2d 714

  25 (9th Cir. 1992); Canadian Ins. Co. v. Rusty’s Island Chip Co., 36 Cal.

  26
  27   6   The other cases cited by New York Marine do not have any apparent
  28 relevance to the issues here.
                                                      22
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   1 App. 4th 491, 498 (1995). In any case, New York Marine’s conclusion

   2 does not “logically follow[].” Perhaps New York Marine suggests that if

   3 section 533 cannot be waived, it would give rise to a right to independent

   4 counsel in every case. But section 533 is simply not relevant to every

   5 coverage dispute and thus will not always give rise to a conflict. If, as

   6 here, an insurer relies on section 533 and the case to be defended

   7 concerns the insured’s intent, then a conflict arises. In either case, the

   8 waivability of section 533 is not relevant to the analysis.

   9              New York Marine seeks to both eat its cake (undermine Ms.
  10 Heard’s right to independent counsel triggered by its reservation on the

  11 basis of section 533) and have it (deny coverage on the basis of section

  12 533). If the Court sanctions this gambit, then New York Marine (and

  13 other insurers) will simply issue “general” reservations of right in all

  14 cases in an effort to preserve full control over the defense. That permits

  15 an insurer to benefit from violating its duty to explain all factual and

  16 legal bases for its coverage positions. See Cal. Code Regs., tit. 10,

  17 § 2695.7(b)(1). Moreover, it guts the right to independent counsel by

  18 putting its availability squarely in the hands of insurers. New York

  19 Marine’s position must be rejected.

  20                         5.    Because New York Marine Breached Its Duties, Ms.
  21                               Heard Did Not Need to Settle for the Conflicted Counsel
  22                               Offered by New York Marine
  23              New York Marine makes much of the following allegation: “Despite
  24 requests from Ms. Heard to reconsider, New York Marine persisted in its

  25 position, making it impossible for Ms. Heard to fully accept this “defense”

  26 provided by New York Marine without prejudicing her defense in the
  27 Depp lawsuit.” ECF No. 36 at 33. However, Ms. Heard was not required

  28
                                                      23
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   1 to accept the “defense” offered by New York Marine to entitle her to

   2 independent counsel.

   3              New York Marine does not dispute that it owed Ms. Heard a duty
   4 to defend. Nor does it dispute that it did not provide Ms. Heard with

   5 independent counsel. The appointment of conflicted counsel did not

   6 discharge New York Marine’s duty to defend. “[I]n order to eliminate the

   7 ethical dilemmas and temptations that arise along with conflict in joint

   8 representations, the insurer is required to provide its insured with

   9 independent counsel of the insured’s choosing who represents the

  10 insured, not the insurer; and the insured may thereafter control the

  11 defense of the case.” Long v. Century Indem. Co., 163 Cal. App. 4th 1460,

  12 1469 (2008) (cleaned up) (emphasis added).7 As such, Ms. Heard’s

  13 acceptance, vel non, is not relevant.8

  14                         6.    Because New York Marine Breached Its Duties, Ms.
  15                               Heard Did Not Contravene Any Provision of the Policy
  16              New York Marine similarly misses the point by arguing that Ms.
  17 Heard breached the policy by incurring defense costs without its

  18 permission. New York Marine apparently misunderstands its duties

  19 under the Policy. As explained above, New York Marine owed Ms. Heard

  20

  21
       7 See also, e.g., Hon. H. Walter Croskey (Ret.), et al., California Practice
       Guide: Insurance Litigation Ch. 7B-K (“As part of its duty to defend, the
  22   insurer must provide a full defense by competent counsel. That duty is
  23   breached when an insurer furnishes defense counsel whose ability to
       represent the insured is impaired by a disqualifying conflict of interest.
  24
       In such cases, the insured is usually permitted to hire independent
  25   counsel at the insurer’s expense.”).
  26  The parties dispute the extent to which New York Marine’s appointed
       8

     counsel was permitted to participate in the defense. Compare ECF No. 5
  27
     at 4, with ECF No. 36 at 4. However, this disputed issue is plainly not
  28 appropriate for resolution at the pleading stage.
                                                      24
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 a duty to provide independent counsel. It failed to provide such

   2 independent counsel. New York Marine cannot complain that Ms.

   3 Heard’s damages arising from its own breach (failure to provide

   4 independent counsel) are unrecoverable because it did not authorize Ms.

   5 Heard to incur defense costs through independent counsel. It owed the

   6 duty to pay for independent counsel regardless of its desire to authorize

   7 it.

   8              Indeed, as aptly quoted by New York Marine, “when the insured
   9 has requested and been denied a defense by the insurer . . . the insured

  10 may ignore the policy’s provisions forbidding the incurring of defense

  11 costs without the insurer’s prior consent.” Gribaldo v. Agrippinia

  12 Versicherunges A.G., 3 Cal.3d 434, 449 (1970). New York Marine had

  13 multiple opportunities to remedy its breach and provide her a proper

  14 unconflicted defense. ECF No. 36 at 33. Cf. Foxfire, Inc. v. New

  15 Hampshire Ins. Co., 1994 WL 361815, at *3 (N.D. Cal. July 1, 1994)

  16 (breaching insurer, having “ample opportunity to step in and hire

  17 counsel at its own set rates” could not complain that insured should have

  18 only paid what it would have). It did not, and the appropriate damages

  19 include “costs and attorneys fees expended by [Ms. Heard] in defending

  20 the underlying action.” Richards v. Sequoia Ins. Co., 195 Cal. App. 4th

  21 431, 437 (2011). In light of New York Marine’s refusal to defend, Ms.

  22 Heard was entitled to defend the action through other means.

  23                         7.    Ms. Heard’s Bad Faith Claim Cannot Be Dismissed
  24              As explained above and in the counterclaim, New York Marine has
  25 breached the Policy. But even if it had not, “California courts have

  26 addressed certain circumstances in which a claim for breach of the
  27 implied covenant of good faith and fair dealing might survive despite the

  28 absence of a valid breach of contract claim,” including when “an insurer
                                                      25
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 unreasonably delayed the investigation of a non-covered claim.” Ram v.

   2 Infinity Select Ins., 807 F. Supp. 2d 843, 860–61 (N.D. Cal. 2011); see,

   3 e.g., McMillin Scripps N. P’ship v. Royal Ins. Co., 19 Cal. App. 4th 1215,

   4 1222–23 (1993) (“[A]n insurance company could be liable to its insured

   5 for tortious bad faith despite the fact that the insurance contract did not

   6 provide for coverage.” (citations omitted)).

   7              The implied covenant of good faith and fair dealing mandates that
   8 the insurer refrain from doing “‘anything which injures the right of [the

   9 insured] to receive the benefits of the agreement.’” Murphy v. Allstate

  10 Ins. Co., 17 Cal. 3d 937, 940 (1976) (citation omitted). Misconduct like

  11 that alleged here, such as failing to conduct a full and thorough

  12 investigation and asserting grounds for denying coverage without

  13 conducting that investigation, ECF No. 36 at 25, has been held to

  14 constitute bad faith. See, e.g., Shade Foods Inc. v. Innovative Prods. Sales

  15 & Mktg., Inc., 78 Cal. App. 4th 847, 881–83 (2000) (insurer breached

  16 implied covenant of good faith and fair dealing by failing to properly

  17 investigate claim and defend insured despite existence of difficult

  18 coverage issues); Mariscal v. Old Republic Life Ins. Co., 42 Cal. App. 4th

  19 1617, 1624 (1996) (insurer breached implied covenant of good faith and

  20 fair dealing by failing to diligently search for evidence supporting

  21 insured’s claim). If an insurer fails to deal in good faith with its insured,

  22 it can be liable for bad faith even if the policy ultimately does not provide

  23 coverage for the claim. Thus, independent of the breach of contract claim,

  24 Ms. Heard’s bad faith claim should not be dismissed.

  25 III.         TRAVELERS’ DEFENSE OF MS. HEARD DOES NOT
  26              EXCUSE NEW YORK MARINE’S BREACHES
  27              Again undeterred by blackletter California law, New York Marine
  28 argues that because Ms. Heard alleges that another insurer participated
                                                      26
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 in her defense, she cannot have suffered damages. However, “where more

   2 than one insurer owes a duty to defend, a defense by one constitutes no

   3 excuse of the failure of any other insurer to perform.” Wint v. Fid. & Cas.

   4 Co., 9 Cal. 3d 257, 263 (1973). Travelers’ defense cannot excuse New

   5 York Marine’s breach.

   6              New York Marine contends that “[a]n insured is ‘only entitled to
   7 one full defense.’” But nowhere does Ms. Heard allege that Travelers

   8 covered the full cost of the defense. The Counterclaim merely alleges

   9 that Travelers defended and, in that role, “had paid, and was paying

  10 [sums] towards Ms. Heard’s defense in the Depp lawsuit.” ECF No. 36 at

  11 22. That does not demonstrate that Ms. Heard did not suffer damages as

  12 a result of New York Marine’s breaches. Ms. Heard did suffer such

  13 damages and, as relevant for purposes of this motion, alleges that she

  14 suffered such damages. Id. at 24.9

  15              Travelers’ defense of Ms. Heard simply does not excuse New York
  16 Marine’s breach as a matter of law. Ms. Heard’s allegations do not

  17 support a contrary conclusion.

  18 IV.          NEW YORK MARINE’S MOTION FOR A MORE DEFINITE
  19              STATEMENT SHOULD BE DENIED
  20              New York Marine has not established any need for a more definite
  21 statement. Federal Rule of Civil Procedure 12(e) permits a motion for a

  22 more definite statement of a pleading if the pleading is “so vague or

  23 ambiguous that the party cannot reasonably prepare a response.” As

  24
       Unlike Travelers, who had the duty to pay for Ms. Heard’s counsel in
       9
  25
     accordance with California Civil Code section 2860, New York Marine
  26 cannot rely on panel rates or the standards of section 2860 to limit its
     liability. See, e.g., Concept Enters., Inc. v. Hartford Ins. Co., 2001 WL
  27
     34050685, at *3 (C.D. Cal. May 22, 2001) (breaching insurer’s reliance on
  28 section 2860 rate limits “unavailing,” collecting cases).
                                                      27
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 explained above, Ms. Heard’s statement that she did not “fully accept

   2 [the] ‘defense’” proffered by New York Marine is neither vague nor

   3 ambiguous: Ms. Heard had no duty to accept the deficient defense offered

   4 by New York Marine in lieu of the unconflicted defense it owed.

   5              Moreover, Ms. Heard does not need to amend “to explain whether
   6 her claim for ‘defense costs’ includes post-tender attorneys fees subject to

   7 the limitations of Civil Code §2860(c) and whether any of her incurred

   8 defense costs not paid by any insurer were incurred at NY Marine’s

   9 ‘request.’” “The purpose of Rule 12(e) is to permit litigants to procure

  10 information needed to frame a responsive pleading, not as a substitute

  11 for discovery . . . .” Wright & Miller § 1376. New York Marine neither

  12 explains why it cannot frame a responsive pleading without this

  13 information, nor why it cannot obtain it in the course of discovery.

  14 V.           NEW YORK MARINE’S MOTION TO STRIKE IS MERITLESS
  15              New York Marine seeks to strike Ms. Heard’s allegation that New
  16 York Marine “reserved rights to deny coverage on the ground that Ms.

  17 Heard behaved intentionally, thus creating a conflict of interest with Ms.

  18 Heard and giving Ms. Heard the right to independent counsel, with New

  19 York Marine being obligated to pay for the fees and costs of this

  20 independent counsel.” As explained above, New York Marine did reserve

  21 rights to deny coverage on the ground that Ms. Heard behaved

  22 intentionally (and concedes that it did), which did give rise to a conflict of

  23 interest and the right to independent counsel. This is not a strikable

  24 allegation.

  25              New York Marine also seeks to strike paragraphs 7–16 of the
  26 Amended Counterclaim, which recite marketing representations made
  27 by New York Marine’s current and former parent entities because they

  28 are purportedly not relevant. “Motions to strike on the grounds of
                                                      28
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 insufficiency, immateriality, irrelevancy, and redundancy are not favored

   2 . . . and will usually be denied unless the allegations have no possible

   3 relation to the controversy and may cause prejudice to one of the

   4 parties.” Zahedi v. Miramax, 2021 WL 4497211, at *2 (C.D. Cal. Jan. 7,

   5 2021). “Without an adequate showing of prejudice, courts may ‘deny

   6 motions to strike . . . .” Id.

   7              New York Marine first argues that extrinsic evidence is only
   8 relevant where policy language is facially ambiguous. That is not correct.

   9 Dore v. Arnold Worldwide, Inc., 39 Cal. 4th 384, 391 (2006) (“‘[E]ven if a

  10 contract appears unambiguous on its face, a latent ambiguity may be

  11 exposed by extrinsic evidence which reveals more than one possible

  12 meaning to which the language of the contract is yet reasonably

  13 susceptible.’”); A. Kemp Fisheries, Inc. v. Castle & Cooke, Inc., 852 F.2d

  14 493, 496 n.2 (9th Cir. 1988) (courts applying California law “may not

  15 dismiss on the pleadings when one party claims that extrinsic evidence

  16 renders the contract ambiguous”).

  17              New York Marine also argues that the language is “mere
  18 marketing ‘puffery’ which are not actionable as representations or

  19 promises.” All of New York Marine’s cases concern fraud actions, which

  20 are subject to a heightened pleading standard not relevant here.10

  21 However, if by contending that these representations constitute “puffery”

  22 New York Marine is suggesting that they are not accurate,11 New York

  23 Marine is only bolstering Ms. Heard’s bad faith claim. See Cal. Ins. Code

  24

  25    They also exclusively concern Allstate’s slogan “You’re In Good
       10

  26
     Hands.”
     11 See Puffery, Merriam-Webster, https://www.merriam-webster.com/
  27
     dictionary/puffery (“exaggerated commendation especially for
  28 promotional purposes”).
                                                      29
                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1 § 780 (An insurer “shall not cause to be issued . . . any statement that is

   2 known, or should be known, to be a misrepresentation” of the “benefits or

   3 privileges of the policy or future dividends payable under the policy.”).

   4              In any case, in a coverage action, an insurer’s public
   5 representations are relevant to the reasonable expectations of its

   6 insureds. See, e.g., Glenfed Dev. Corp. v. Superior Court, 53 Cal. App. 4th

   7 1113, 1118–19 (1997) (“extrinsic evidence concerning the reasonable

   8 expectations of the insured may be admissible at trial”); Collins v. JC

   9 Penney Life Ins. Co., 2003 WL 25945842 (S.D. Cal. May 6, 2003) (insurer

  10 promotion, marketing, and sale materials are relevant to insured’s

  11 allegation of bad faith claims handling). These allegations plainly are

  12 relevant to this dispute.

  13 VI.          CONCLUSION
  14              For all these reasons, New York Marine’s motion should be denied.
  15 DATED: February 17, 2023                              PASICH LLP
  16
                                                     By:        /Kayla Robinson
  17                                                       Kayla Robinson
  18                                                       Attorneys for Defendant and
  19
                                                           Counter-Claimant

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                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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   1                                CERTIFICATE OF COMPLIANCE
   2              The undersigned, counsel of record for Defendant and Counter-
   3 Claimant Amber Heard, certifies that this brief contains 7,000 words,

   4 which complies with the word limit of L.R. 11-6.1, excluding the parts of

   5 the document exempted by L.R. 11-6.1.

   6 DATED: February 17, 2023                              PASICH LLP
   7
                                                     By:        /Kayla Robinson
   8                                                       Kayla Robinson
   9                                                       Attorneys for Defendant and
  10
                                                           Counter-Claimant

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                           HEARD’S OPPOSITION TO NY MARINE’S MOTION TO DISMISS, ETC.
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